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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                       )
                                                       )
In re:                                                 ) Chapter 11
                                                       )
NAVILLUS TILE, INC., DBA NAVILLUS                      ) Case No. 17-13162 (SHL)
CONTRACTING,                                           )
                                                       )
                         Debtor.                       )
                                                       )
                                                       )
                                                       )

             ORDER (A) AUTHORIZING NAVILLUS TILE, INC. TO ENTER
            INTO A COMPLETION AGREEMENT WITH LIBERTY MUTUAL
            INSURANCE COMPANY AND (B) GRANTING RELATED RELIEF

         Upon the motion (the “Motion”)1 of Navillus Tile, Inc., as debtor and debtor-in-

possession in the above-captioned chapter 11 case (“Navillus” or the “Debtor”), for an order

pursuant to sections 362 and 363 of title 11 United States Code, 11 U.S.C. §§ 101-1532 (as

amended, the “Bankruptcy Code”), Rules 4001 and 6004 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), and Rule 4001-1 and 6004-1 of the Local Rules for the

Southern District of New York (the “Local Rules”) authorizing Navillus to enter into the

Completion Agreement (as defined below) with Liberty Mutual Insurance Company (“Liberty”);

and upon consideration of the Affidavit of Donal O'Sullivan pursuant to Rule 1007-2 of the

Local Bankruptcy Rules for the Southern District of New York; and the Court having jurisdiction

to consider the Motion and the relief requested therein pursuant to 28 U.S.C. § 1334; and

consideration of the Motion and the relief requested therein being a core proceeding pursuant to

28 U.S.C. § 157(b); and venue being proper before the Court pursuant to 28 U.S.C. §§ 1408 and

1409; and due and proper notice of the Motion having been provided; and it appearing that no

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  Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion or
in the Completion Agreement, as applicable.
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other or further notice need be provided; and the relief being requested being in the best interests

of Navillus and its estate and creditors; and the Court having reviewed the Motion and having

heard the statements in support of the relief requested therein at the hearing before the Court (the

“Hearing”); and the Court having determined that the legal and factual bases set forth in the

Motion and at the Hearing establish just cause for the relief granted herein; and upon all of the

proceedings had before the Court and after due deliberation and sufficient cause appearing

therefor; IT IS HEREBY ORDERED THAT:

        1.      The Motion is GRANTED to the extent provided herein.

        2.      Pursuant to Bankruptcy Code section 363(b), effective upon entry of this Order,

Navillus is authorized to enter into the Completion Agreement attached hereto as Exhibit 1, as

well as all accompanying ancillary agreements including: (a) all form bailment agreements

required thereunder in substantially the same form attached as Exhibit A thereto; (b) all form

third-party contract assignments required thereunder in the same form attached as Exhibit B

thereto; and (c) the bill of sale required thereunder in substantially the same form attached as

Exhibit C thereto.

        3.      Entering into the Completion Agreement is in the sound business judgment of

Navillus and in the best interest of Navillus, its estate, and its creditors.

        4.      The automatic stay under Bankruptcy Code section 362 is hereby modified to

allow Navillus and Liberty to enter into the Completion Agreement and carry out and execute the

provisions set forth therein.

        5.      Liberty is not required to seek further relief from this Court to enforce the

provisions of the Completion Agreement including, but not limited, seeking relief from the Court

to terminate the Completion Agreement pursuant to its terms. Notwithstanding the foregoing, in




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the event a Chapter 11 Notice Party objects to the termination of the Completion Agreement by

Liberty based on any failure to meet a Milestone, such Chapter 11 Notice Party shall, within five

(5) business days of receiving notice of termination by Liberty in accordance with the objection

procedure set forth in paragraph 15 of the Completion Agreement, file with this Court a motion

seeking: (a) standing to prosecute its objection to termination based on any failure to meet a

Milestone, and (b) a finding that Navillus has made reasonable and best efforts towards

confirmation of a confirmable chapter 11 plan, together with a request for an expedited hearing

on its motion at the earliest date convenient for the Court. The Completion Agreement shall

remain in effect pending a ruling of this Court on any such motion filed by a Chapter 11 Notice

Party.

         6.    Navillus is authorized to take all such actions as are necessary or appropriate to

implement the terms of this Order.

         7.    Nothing contained in this Order or the Completion Agreement shall limit the

Committee’s right to seek to terminate the Debtor’s exclusivity to file a chapter 11 plan, file a

competing chapter 11 plan or object to the terms of any chapter 11 plan filed by the Debtor and

any such actions by the Committee shall not constitute a material breach under the Completion

Agreement or a basis for Surety to declare a default under the Completion Agreement; provided,

however, that Surety shall still have the right to declare a default in the event that the Milestones

set forth in the Completion Agreement are not met (subject to the objection procedure set forth in

paragraph 15 of the Completion Agreement).




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       8.      This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation, interpretation and/or enforcement of this Order.


Dated: February 8, 2018
New York, New York



                                             /s/ Sean H. Lane
                                             HONORABLE SEAN H. LANE
                                             UNITED STATES BANKRUPTCY JUDGE




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                                         Exhibit 1

                                  Completion Agreement




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                                COMPLETION AGREEMENT

       This Completion Agreement is made and entered into this ___ day of January 2018, by

and between Liberty Mutual Insurance Company (the “Surety”) and Navillus Tile, Inc., d/b/a

Navillus Contracting (“Navillus” and, together with the Surety, the “Parties”).

       WHEREAS, on or about October 21, 2016, Navillus and Tishman Construction

Corporation of New York (“Tishman”) entered into a contract (“the Contract”) for Navillus to

perform a construction project known as “Superstructure Concrete – One Vanderbilt Avenue,

New York, NY” (the “Project”), with a contract price of $135,926,646.00;

       WHEREAS, the Surety executed and delivered to Tishman and One Vanderbilt Owner

LLC (collectively, the “Obligees”), and the Obligees accepted, Performance Bond No.

015052680 (the “Bond”), in the penal sum of $135,926,646.00, dated February 8, 2017, in

connection with the Contract;

       WHEREAS, on September 22, 2017, a judgment was entered against Navillus in the

United States District Court, Southern District of New York, for an amount in excess of $75

million (the “Judgment”);

       WHEREAS, by letter dated October 3, 2017, Tishman provided written notice that it

considered Navillus to be in default under the Contract and that Tishman was electing to

terminate the Contract for cause (the “Termination”);

       WHEREAS, the Obligees thereafter requested that the Surety complete the performance

of Navillus’s obligations under the Contract, pursuant to the Bond;

       WHEREAS, the Surety is willing to undertake completion of the Contract pursuant to

paragraph 5.1 of the Bond and in accordance with the terms of the Contract, the Bond, and an

appropriate Takeover Agreement, provided that (a) in doing so, the Surety will receive the entire

Remaining Contract Balance in accordance with the terms of the Takeover Agreement (as
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hereinafter defined), (b) the Obligees consent to the Surety’s retention of Navillus as completion

contractor, and (c) all of Surety’s rights, claims, and remedies relative to Navillus under any

Agreement of Indemnity are preserved;

       WHEREAS, Navillus is willing to consent to the Surety’s takeover of the Project, waive

any and all claims and defenses against or relative to the Surety and its takeover of the Project as

of the effective date of this Completion Agreement, waive any and all claims and defenses

against the Obligees that the Termination was improper or invalid, and complete the Work (as

defined below) as the Surety’s completion contractor, provided that, in doing so, it receives the

Remaining Contract Balance in accordance with the terms of the Takeover Agreement (as

defined below) for completing the Work;

       WHEREAS, Navillus represents that it remains ready, willing, and able to complete the

performance of its obligations under the Contract in accordance with and pursuant to the terms

and conditions of the Contract (and as may be modified herein) for the Remaining Contract

Balance (as defined below and as the same may be adjusted based upon changes to the Contract),

either pursuant to the Contract directly or as the Surety’s completion contractor after a takeover;

       WHEREAS, on October 11, 2017, Tishman and Navillus, with the Surety’s consent,

executed a Transition Work Agreement, effective October 4, 2017, whereby Navillus agreed to

perform the Transition Work (as defined therein) as directed by Tishman and subject to the terms

and conditions of the Transition Work Agreement, as such agreement has been extended

pursuant to its terms through and including December 26, 2017;

       WHEREAS, on November 8, 2017, Navillus filed for protection pursuant to Chapter 11

of the United States Bankruptcy Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”);




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       WHEREAS, the Surety and Navillus have executed the Financing Agreement, dated

December 22, 2017, providing a commitment for a $135 million facility for debtor-in-possession

financing by the Surety to fund Navillus’s work in accordance with the terms of the Financing

Agreement on all of the projects bonded by the Surety, including without limitation the Project

(“DIP Financing”);

       NOW, THEREFORE, in consideration of the mutual promises set forth herein and other

good and valuable consideration, the receipt and sufficiency of which are hereby acknowledged,

the Parties agree as follows:

       1.      Navillus reaffirms its execution of any and all Agreements of Indemnity in favor

of the Surety (and any affiliate of the Surety) and the obligations contained therein, including but

not limited to (a) the General Agreement of Indemnity dated October 24, 1995; (b) the General

Agreement of Indemnity dated December 12, 2006; and (c) the General Agreement of Indemnity

for Contractors dated March 15, 2007. Navillus consents to the Surety’s takeover of the Project,

and waives and releases any all rights, remedies, claims, and defenses that it now has or may

have as of the effective date of this Completion Agreement arising from or otherwise relating to

the Surety’s takeover of the Project except for any claim(s) against the Surety that Navillus

performed labor or supplied materials or equipment to the Project hereunder and was not paid

therefor or any other claims pursuant to this Completion Agreement.

       2.      With respect to the Obligees, Navillus also hereby waives and releases any claim

or defense that the Termination was improper or invalid. For purposes of clarity, but not as a

limitation, Navillus acknowledges that, as against the Surety, (a) it shall not and cannot assert

that Navillus was not in default or that the Surety should not have taken over the Project as an

affirmative claim against the Surety or as a defense to any claim by the Surety against Navillus




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under any Agreement of Indemnity or pursuant to common law, (b) any and all such rights,

remedies, claims, and defenses of Navillus are hereby waived and released by Navillus, and (c)

the Surety is entering into this Completion Agreement and the related Takeover Agreement in

reliance upon and having been induced (in part) by this waiver and release.

       3.       Navillus, as an independent contractor and not as an agent of the Surety, shall

fully perform and complete all obligations required to be performed and completed under (a) the

Contract, including all amendments, addenda, change orders, approved submittals, and all other

documents that have (prior to the date hereof) become part of the Contract as well as all such

amendments and documents that hereafter become part of the Contract pursuant to its terms, all

of which are expressly incorporated herein by reference, and (b) this Completion Agreement ((a)

and (b) are collectively referred to herein as “the Work”). Navillus shall fully perform and

complete the Work and assumes all responsibilities relative thereto as if Tishman had not

terminated the Contract, including but not limited to:

                (a)    furnishing all equipment, tools, labor, materials, supplies, and services

required and/or necessary to complete the Work;

                (b)    completing all incomplete work under the Contract, in accordance with the

Contract; and

                (c)    fulfilling any and all guarantee and/or warranty obligations specified in the

Contract.

       4.       This Completion Agreement consists of the terms and provisions contained herein

and in the Contract in its entirety, including but not limited to all documents identified in

paragraph 59 of the Contract and any and all changes/modifications to the Contract made prior to




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the date hereof, all of which are incorporated herein by reference and which are hereinafter

referred to collectively as “the Contract Documents”.

       5.      Navillus hereby accepts and assumes responsibility for the full and final

completion of the Work as if Tishman had not terminated the Contract. Navillus acknowledges

that, as the original contractor on the Project, it is in the best position to know the status of the

work performed under the Contract to date, that neither the Surety nor the Obligees have made

any representations or warranties concerning the work completed to date, and that it is not

relying upon and would not rely upon any such representations in entering into this Completion

Agreement.

       6.      Navillus shall be bound to the Surety by all of the terms and provisions of the

Contract Documents, including administrative as well as technical provisions, and shall comply

therewith in all respects. Navillus shall be bound to the Surety in the same manner and to the

same extent that it was bound to Tishman prior to Tishman’s termination of the Contract.

       7.      Navillus shall complete the Work in exchange for payment of the Remaining

Contract Balance pursuant to the terms of this Completion Agreement.               The “Remaining

Contract Balance” (as the same may be adjusted based upon changes to the Contract), is the

amount stated in paragraph 6 of the Takeover Agreement executed (or to be executed) by and

between the Surety and the Obligees. Navillus confirms that it has received and reviewed the

Takeover Agreement and that it will complete the Work for the Remaining Contract Balance

payable by the Surety to Navillus as and when paid to the Surety by Tishman pursuant to the

Contract, as full compensation for the performance and completion of the Work. Navillus shall

assist the Surety in the preparation and submission of payment requisitions to Tishman as the

Surety may request, and the Surety shall issue payment to Navillus for work performed




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hereunder within five (5) days after the Surety receives payment for such work from Tishman

unless otherwise agreed to by the Parties.

               (a)     Navillus’s commitment to complete the Work for the Remaining Contract

Balance includes all costs and expenses of Navillus of every nature including, but not limited to,

all labor, materials, services, equipment, rentals, overhead, and any other costs or expenses that

are or could be incurred by Navillus to perform and satisfactorily complete the Work. Navillus

shall furnish and pay for all labor, materials, services, and equipment and shall do everything

else necessary to perform and satisfactorily complete the Work as required by the Contract

Documents. Navillus expressly confirms and acknowledges that paragraph 37 of the Contract

applies with equal force to this Completion Agreement.

       8.      Navillus shall commence performance hereunder immediately upon receipt of a

written Notice to Proceed from the Surety, and shall complete the Work within the time provided

by the Contract. Time is of the essence. If Navillus fails to complete the Work in the time

provided by the Contract, then Navillus shall be liable to the Surety for all liquidated or other

damages assessed by the Obligees (or either of them) against the Surety. The Surety may

withhold from the payments that otherwise may be due to Navillus an amount equal to the

liquidated or other damages actually assessed or which, in the Surety’s reasonable belief, may be

assessed. Notwithstanding any assessment or non-assessment of liquidated or delay damages

against the Surety, the Surety shall have the right to assess against Navillus its actual damages if

Navillus fails to timely complete the Work.

       9.      Nothing herein shall alter or otherwise affect the Surety’s obligations to third-

party claimants, if any, under the Payment Bond it executed on behalf of Navillus relative to the

Project. The Payment Bond shall remain in full force and effect, and shall cover Navillus for




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labor performed and materials and equipment supplied in furtherance of Navillus’s completion of

the Work. Navillus, however, shall remain primarily responsible for all claims made by any

laborers, subcontractors, or material suppliers for labor, material, or equipment supplied in

connection with the Project or in connection with or in furtherance of this Completion

Agreement. With respect to any liens filed against the Project by any laborer, subcontractor,

supplier or representative thereof, Navillus shall be obligated to fully and strictly comply with

the requirements of paragraph 20 of the Contract.

       10.     Notwithstanding the date of execution of this Completion Agreement, this

Completion Agreement shall be conditioned upon, and shall not be effective or in force until, (i)

the execution of a written Takeover Agreement by and between the Surety and Tishman, and (ii)

authorization by the Bankruptcy Court for Navillus to enter into this Completion Agreement,

both of which constitute a condition precedent to the effectiveness of this Completion

Agreement. If this Completion Agreement is executed by the Surety and Navillus prior to the

occurrence of this condition precedent, the effective date of this Completion Agreement shall be

the same as the effective date of the Takeover Agreement.

       11.     In the event the Takeover Agreement is terminated according to its terms, the

term of this Completion Agreement will automatically expire and the Completion Agreement

shall be deemed terminated by its own terms without liability to the Surety or the Obligees.

       12.     Acceptance of payment by Navillus constitutes a complete and full release of any

and all claims, of any type or kind, asserted or unasserted, that Navillus may have against the

Surety and/or its employees, directors, officers, consultants, agents, and representatives, with

respect to the Contract, the Project, and/or this Completion Agreement. Navillus shall execute

separate release(s) and lien waiver(s) in accordance with Section 36 of the Contract releasing




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Surety and the Obligees, as well as any additional release(s) and lien waiver(s) reasonably

required by the Surety in exchange for payment.

       13.     The Surety may terminate Navillus’s right to perform under this Completion

Agreement upon determining that Navillus is not completing the Work in accordance with the

Contract Documents. Upon the termination of Navillus’s right to perform under this Completion

Agreement, Navillus shall promptly discontinue all work (unless the notice of termination directs

otherwise) and deliver or otherwise make available to the Surety, for its use, all data, drawings,

specifications, reports, estimates, summaries, and such other information and materials

pertaining to the Project in Navillus’s possession, whether in hard copy or electronic format.

Without limitation, Surety shall also have all of the rights under paragraph 26 of the Contract,

including the right to take possession of Navillus’s materials, tools, plant, equipment, and

appliances used or to be used for the construction, whether on or off the site of the Project,

including without limitation the form systems and crane, which Navillus acknowledges that the

engineering drawings for the crane have been paid for by the Obligees; in furtherance of this

obligation, Navillus shall use commercially reasonable efforts to cause all storage facilities,

warehouses, and other bailees, if any, to execute form bailment agreements in favor of Tishman

for all material stored off-site in substantially the same form attached hereto as Exhibit A, which

will be deemed effective following a termination of the Completion Agreement. At Tishman’s

election, to the extent possible, Navillus shall also assign any outstanding supplier and vendor

contracts, or other agreements with third-parties, pertaining to the Work or the Project, including

without limitation with respect to the crane; in furtherance of this obligation, Navillus shall

execute form assignments in favor of Tishman for all third-party contracts in substantially the

same form attached hereto as Exhibit B, which will be deemed effective following a termination




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of the Completion Agreement and at the election of Tishman. To the extent owned by Navillus,

Navillus shall also provide a bill of sale in favor of the Surety or Tishman, to be mutually

decided, of the Peri forms system in substantially the same form attached hereto as Exhibit C,

which will be deemed effective following a termination of the Completion Agreement.

Termination of Navillus’s right to perform under this Completion Agreement shall not relieve it

of (a) its responsibility under this Completion Agreement to pay for the labor performed and

materials/equipment supplied by it or its subcontractors or suppliers (to the extent it has received

payment from the Surety hereunder) or (b) its obligations under any Agreement of Indemnity.

       14.     Navillus hereby agrees that, should the automatic stay provisions contained in the

United States Bankruptcy Code, 11 U.S.C. § 362, apply to this Completion Agreement, the

Surety’s right to terminate this Completion Agreement shall not be limited by such provisions,

and Navillus accordingly waives the automatic stay as might otherwise be applicable to this

Completion Agreement.

       15.     Navillus shall use its reasonable and best efforts to pursue confirmation of a plan

of reorganization pursuant to the following timeline, all of which shall be subject to the

Bankruptcy Court’s calendar and approval (in each case, a “Milestone”):

       (a)     On or about June 29, 2018, Navillus will file a plan of reorganization (the “Plan”)

and accompanying disclosure statement (the “Disclosure Statement”);

       (b)     On or about July 6, 2018, Navillus will file a motion for approval of the

Disclosure Statement;

       (c)     On or about August 30, 2018, Navillus will obtain entry of an order approving the

Disclosure Statement and scheduling a hearing to consider confirmation of the Plan;




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        (d)     On or about October 15, 2018, Navillus will obtain entry of an Order confirming

the Plan; and

        (e)     On or about December 14, 2018 Navillus’ Plan may become effective.

        In the event Navillus fails to meet any of the Milestones, the Surety, and only the Surety,

shall have the right, but not the obligation, to declare that such a failure constitutes a material

breach of this Completion Agreement and terminate this Completion Agreement on no less than

five (5) business days’ notice by both overnight delivery and email to, in additional to any other

entities entitled to notice under the Completion Agreement, (a) counsel to Navillus, (b) Hahn &

Hessen LLP, 488 Madison Avenue, New York, NY 10022, Attn:                   Mark T. Power, Esq.,

mpower@hahnhessen.com, counsel to the official committee of unsecured creditors appointed in

Navillus’ chapter 11 case (the “Committee”), and (c) the Office of the United States Trustee for

the Southern District of New York, 201 Varick Street, Room 1006, New York, NY 10014, Attn:

Paul K. Schwartzberg, Esq., paul.schwartzberg@usdoj.gov ((a)-(c), the “Chapter 11 Notice

Parties”).    In the event that a Chapter 11 Notice Party files an objection with the Bankruptcy

Court to the Surety’s termination of this Completion Agreement based upon a failure to meet a

Milestone, such termination shall be effective unless the Bankruptcy Court finds that the

objecting party has the requisite standing to prosecute such objection and Navillus has made

reasonable and best efforts towards confirmation of a confirmable chapter 11 plan. Navillus’

failure to meet any of the Milestones shall not constitute (y) a material breach of, or cross-default

under, the DIP Financing, or (z) a material breach of this Completion Agreement, either

hereunder or under the Takeover Agreement, absent the Surety declaring such failure to

constitute a material breach, subject to the Bankruptcy Court sustaining an objection as set forth

above. For the avoidance of doubt, the notice and objection provisions contained in this section



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relate solely to the issue of termination of this Completion Agreement based upon a failure to

achieve a Milestone and do not relate in any way to a termination of this Completion Agreement

by the Surety for any other reason provided in this Completion Agreement.

       16.     The Surety designates Beacon Consulting Group (“Beacon”) as its agent and

representative in connection with the completion of the Work. Beacon is authorized to represent

the Surety in dealing with Navillus in connection with the Project. Navillus shall comply with

directives issued by Beacon’s authorized representatives. Beacon will represent the Surety in

connection with the Project on a day-to-day basis. While Navillus should communicate with

Beacon, on the Surety’s behalf, on project-related matters, nothing herein is intended to preclude

Navillus from communicating directly with the Obligees (or either of them) relative to the

Project, provided the Surety is advised of all material communications between Navillus and the

Obligees (or either of them) contemporaneously therewith.

       17.     Prior to performing any work on the Project pursuant to this Completion

Agreement, Navillus will maintain (or obtain, to the extent it has not already obtained) all

insurance coverages in accordance with the terms of the Contract, which coverages will include

without limitation the Surety, Beacon, each of the Obligees, and any other party required by the

Contract to be named as insureds or additional insureds. Notwithstanding the foregoing, Surety

and Beacon shall be named as additional insureds under the wrap up policy provided for the

Project. Navillus will deliver to the Surety and the Obligees copies of certificates of insurance or

other proof of coverage required by Obligees evidencing such coverages prior to commencing

any work hereunder. Navillus shall at all times observe and comply with all federal, state,

county, and city laws, ordinances, and regulations in any manner affecting the Project and its

employees.



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       18.     Navillus assumes responsibility for any and all direct liabilities, claims, damages,

losses, suits, and demands against the Surety arising out of any breach of this Completion

Agreement by Navillus, or its failure to perform as required under this Completion Agreement,

or the failure to perform of its subcontractors, employees, laborers, suppliers, and any other

person or entity acting on behalf of Navillus relative to the Project. Navillus will indemnify and

hold the Surety and its respective employees, directors, officers, consultants, agents, and

representatives, free and harmless from and against any and all actions, causes of action, suits,

for limitation, counsel fees, and disbursements (including allocated costs of in-house counsel,

accountants, and engineers) incurred by any of them as a result of, or arising out of, or relating to

the Work, and Paragraph 7 of the Contract shall specifically apply to this Completion

Agreement, with the Surety and Beacon also considered as “other Indemnitees”. In the event of

any inconsistency between this Completion Agreement and paragraph 7 of the Contract, the

terms of paragraph 7 of the Contract shall govern. All such indemnity is in addition to and not in

lieu of any indemnity or similar obligations Navillus has under any Agreement of Indemnity.

       19.     The Judgment is the subject of a Notice of Appeal that Navillus has filed with the

United States Court of Appeals for the Second Circuit. Navillus has represented that it

anticipates that its ability to complete the Work will not be materially affected by its filing for

protection pursuant to Chapter 11 of the Bankruptcy Code. Navillus further represents that it

will seek Bankruptcy Court approval of this Completion Agreement at the earliest possible

opportunity and otherwise take all steps possible to continue the Work without interruption and

avoid or minimize any delay and disruption to the Project. Specifically, and without limitation,

Navillus agrees that it will move for authority to enter into this Completion Agreement within

two (2) business days of the execution date of the Takeover Agreement. In the event Navillus




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fails to file a motion for authority to enter into this Completion Agreement within two (2)

business days of the execution date of the Takeover Agreement, Surety shall have the right (but

not the obligation) to terminate this Completion Agreement.

       20.     All rights of the Surety and obligations of Navillus hereunder are in addition to,

and not in lieu of, all rights of the Surety and obligations of Navillus in any Agreement of

Indemnity that Navillus executed in favor of the Surety. All such Agreements of Indemnity,

having been reaffirmed by Navillus in paragraph 1 above, survive this Completion Agreement

without limitation or modification.

       21.     Any notices or other formal communications given or made in connection with

this Completion Agreement shall be deemed to have been properly given or made if sent via both

e-mail and overnight mail to the following:

       FOR NAVILLUS:

       Navillus Tile, Inc. d/b/a Navillus Contracting
       633 3rd Ave
       New York, N.Y. 10017
       Attn: Donal O’Sullivan
       dosullivan@navillusinc.com

       Cullen & Dykman, LLP
       100 Quentin Roosevelt Blvd
       Garden City, New York, 11743
       Attn: C. Nathan Dee, Esq.
       ndee@cullenanddykman.com

       FOR THE SURETY:
       Liberty Mutual Surety
       2200 Renaissance Boulevard, Suite 400
       King of Prussia, Pennsylvania 19406-2755
       Attn: James D. Gibson/Michael Burkhardt
       Jamesd.gibson@libertymutual.com
       Michael.burkhardt@libertymutual.com




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       Chiesa Shahinaian & Giantomasi PC
       One Boland Drive
       West Orange, New Jersey 07052
       Attn: Adam P. Friedman, Esq.
       afriedman@csglaw.com.

       Should a sender request confirmation of the recipient’s receipt by e-mail of any notice,

and should the recipient expressly confirm such receipt, then the additional delivery by overnight

courier shall not be necessary. Surety and Navillus shall also provide a copy to the Obligees of

any notice concerning Navillus’s performance of the Work or any modification to this

Completion Agreement, by sending a copy of such notice via both e-mail and first-class mail to

the following:

        FOR ONE VANDERBILT OWNER LLC:

       Troutman Sanders LLP
       875 Third Avenue
       New York, New York
       Attn: Aaron Abraham, Esq.
       Aaron.Abraham@troutman.com

       FOR TISHMAN:

       Tishman Construction Corporation of New York
       100 Park Avenue
       New York, New York 10017
       Attn: Judy Herman
       Judy.Herman@aecom.com.

       22.       This Completion Agreement is solely for the benefit of Navillus and the Surety.

Navillus and the Surety do not intend by any provision of this Completion Agreement to create

any rights in or increase the rights of any third-party beneficiaries, nor do they intend to confer

any benefit or enforceable rights under this Completion Agreement or otherwise upon anyone

other than the Surety and Navillus. The Surety and Navillus acknowledge that nothing in this




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Completion Agreement shall extend or increase the rights of any third-party claimants or the

liabilities or obligations of the Surety under its bonds.

       23.     Neither this Completion Agreement nor any of the proceeds to be paid to Navillus

hereunder may be assigned by Navillus without the prior written consent of the Surety, and any

such assignment or attempted assignment shall be null and void absent such consent.

       24.     Navillus acknowledges that there have been no oral, written, or other agreements

of any kind made by the Surety as a condition precedent to or to induce its execution and

delivery of this Completion Agreement.

       25.     This Completion Agreement cannot be amended or altered in any way except in a

writing signed by both the Surety and Navillus.

       26.     This Completion Agreement may be executed in any number of counterparts, all

of which taken together shall constitute one and the same Completion Agreement. Facsimile,

electronic, and/or images of signatures shall have the same force and effect as original

signatures.

       27.     This Completion Agreement shall be governed and controlled by the laws of the

State of New York. Any disputes between Navillus and the Surety relative to this Completion

Agreement shall be resolved or determined (a) pursuant to the laws of the State of New York in a

court of competent jurisdiction irrespective of any conflict of laws principles or analysis, or (b)

as otherwise may be provided in any Agreement of Indemnity.

       28.     This Completion Agreement shall be binding upon the Parties and their respective

successors and assigns.

       29.     In the event a court of competent jurisdiction determines that one or more of the

clauses of this Completion Agreement are unenforceable, such clause(s) shall be severed from




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this Completion Agreement, and the balance of the Completion Agreement shall remain in full

force and effect, provided that the fundamental terms and conditions of this Completion

Agreement remain legal and enforceable.

        30.     In the event a provision of this Completion Agreement is inconsistent with or

contradicts the Contract, the terms of this Completion Agreement shall govern and control,

except as stated in paragraph 17 above. Any capitalized term not defined in this Completion

Agreement shall be ascribed the meaning set forth in the Contract.

        31.     This Completion Agreement is the product of the Parties’ joint drafting effort. As

such, it shall be construed without regard to any presumption or other rule requiring construction

against the drafter.



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       IN WITNESS HEREOF, the Parties have executed this Completion Agreement on the

date indicated above, and each of the undersigned personally represent and warrant that they

have the full right, power and authority to execute this Completion Agreement on behalf of the

respective parties.

NAVILLUS TILE, INC.                             LIBERTY MUTUAL INSURANCE
                                                COMPANY

By:                                             By:
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                             Exhibit A to Completion Agreement




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                                  Form of Bailment Agreement

         WAREHOUSEMAN/BAILEE RELEASE AND WAIVER AGREEMENT

       THIS WAREHOUSEMAN/BAILEE RELEASE AND WAIVER AGREEMENT
(“Agreement”) is made effective as of the ___ day of ____________, 2017, by
[__________________________________] (the “Warehouseman/Bailee”) in favor of Tishman
Construction Corporation of New York (“Tishman”) and One Vanderbilt Owner LLC
(“Owner”).

                                                RECITALS

       A.      Warehouseman/Bailee owns and operates a warehouse and/or storage facility
located at [__________________________________] (the “Premises”).

        B.      Liberty Mutual Insurance Company (“Surety”), Tishman or Owner have in the
past and may in the future from time to time purchase, or provide the funding to Navillus Tile,
Inc., d/b/a Navillus Contracting (“Contractor”) to purchase, certain goods including, without
limitation, existing and future inventory, merchandise, equipment, materials, machinery, parts,
supplies, software and other personal property, and all plans, specifications and records relating
thereto (collectively, the “Goods”) to be used by Contractor in connection with a construction
project known as “Superstructure Concrete – One Vanderbilt Avenue, New York, NY”.

        C.      Surety, Tishman, Owner or Contractor have in the past and may in the future from
time to time deliver or cause to be delivered to the Warehouseman/Bailee certain of the Goods to
be stored at the Premises.

       For good and valuable consideration, the receipt and sufficiency of which are hereby
acknowledged, and intending to be legally bound, the Warehouseman/Bailee hereby agrees as
follows:

                                          AGREEMENT

       1.     The Warehouseman/Bailee hereby waives, releases, terminates and relinquishes to
Tishman and Owner all right, title, interest and claim (if any) which the Warehouseman/Bailee
has or may in the future have in, to or against any of the Goods at any time stored at the
Premises, whether now owned or hereafter acquired by Surety, Tishman or Owner and/or
purchased by Surety, Tishman or Owner and located at any time at the Premises.

        2.      The Warehouseman/Bailee agrees that the Goods are bailed to the
Warehouseman/Bailee solely for storage purposes and title to the Goods shall at all times remain
in Tishman or Owner, respectively, and no other party shall at any time have any rights, title or
interest in the Goods other than Tishman or Owner, respectively.                          Neither the
Warehouseman/Bailee nor the Contractor shall have any right, title or interest in the Goods and
will not, by storing, processing or otherwise, acquire any right, title or interest therein.
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        3.      The Warehouseman/Bailee acknowledges that it has received notification of
Tishman’s or Owner’s title in the Goods, and that it will be holding the Goods as bailee on
behalf of Tishman or Owner, as appropriate. The Warehouseman/Bailee has not received any
notification from any entity other than Tishman or Owner claiming an interest in the Goods.

         4.     To the extent that the Warehouseman/Bailee has any interest in the Goods
whatsoever, the Warehouseman/Bailee waives, releases, and terminates any and all claims, liens,
charges, interests and encumbrances which it now has or may at any time hereafter acquire
(whether arising under applicable common law or statute, by contract, or otherwise) in, to, or
against any of the Goods. The Warehouseman/Bailee will not encumber, grant a security interest
in, or dispose, sell or transfer any of the Goods.

       5.      While the Goods are in the Warehouseman/Bailee’s possession, the
Warehouseman/Bailee will segregate and separate them from any of its or any other party’s
inventory or other goods on the Premises or in its possession, and will identify the Goods in a
manner satisfactory to Tishman and Owner as the property of Tishman or Owner, as appropriate.

       6.      The Goods shall be stored at the Premises with rent or other charges payable by
Contractor in the amount and on the terms set forth on Attachment 1 attached hereto.

         7.      Tishman or Owner, or Contractor until such time as Tishman or Liberty provides
notice to the Warehouseman/Bailee that its Completion Agreement with Contractor has been
terminated (the “Termination Notice”), shall be entitled at any time, and from time to time, to
immediate possession of the Goods and may enter upon the Premises and take possession of and
remove the Goods. Notwithstanding the foregoing, the Warehouseman/Bailee agrees that, upon
receipt of the Termiantion Notice, the Warehouseman/Bailee shall refuse to release the Goods to
Contractor or to any other party other than Tishman or Owner or the party designated by
Tishman or Owner in such written direction. The Warehouseman/Bailee shall return the Goods
to Tishman or Owner on demand by Tishman or Owner, and should the Warehouseman/Bailee
fail to do so, the Warehouseman/Bailee agrees that Tishman’s or Owner’s remedy at law will be
inadequate and Tishman or Owner shall be entitled to the issuance of an order in equity for
specific performance for compliance by the Warehouseman/Bailee in accordance herewith.

        8.      The Warehouseman/Bailee agrees that the Goods are and shall not be deemed a
fixture or part of the real estate (regardless of any manner of affixation), but shall at all times be
considered personal property of Tishman or Owner, respectively.

       9.     Until the Goods are delivered to and accepted by Contractor, Tishman or Owner,
the Warehouseman/Bailee shall bear the sole risk of loss, damage, deterioration or destruction of
the Goods, and shall be responsible and indemnify Tishman and Owner against the same. The
Warehouseman/Bailee will keep the goods insured against fire, theft, and other commercial
hazards in such amount, on such terms and conditions, and with such companies as Tishman or
Owner shall require. Tishman and Owner shall be made loss payees and at the request of
Tishman or Owner, the Warehouseman/Bailee shall furnish Tishman or Owner with evidence of
such insurance on demand.
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       10.     The Goods shall be stored at the Premises for as long as Tishman or Owner
require and during such time the Goods shall be subject to this Agreement and so long as
Tishman and Owner are not in material default under this Agreement (which material default
shall continue uncured for thirty (30) days after written notice of material default from
Warehouseman/Bailee), the Warehouseman/Bailee shall not terminate this Agreement and shall
continue to be bound hereby.

        11.     This Agreement shall be binding upon the Warehouseman/Bailee, its successors
and assigns, and shall inure to the benefit of, and be enforceable by, Tishman and Owner and
each of their successors, assigns, and designees. The Warehouseman/Bailee agrees that it will
notify its assignees of the existence of this Agreement.

       12.    The Warehouseman/Bailee consents to the jurisdiction of the courts of the State of
New York in any and all actions between the Warehouseman/Bailee, Tishman, Owner, and/or
Contractor, and irrevocably agrees to service of process by certified mail, return receipt
requested.

        13.    This Agreement shall be governed by New York law. If any provision hereof is
adjudged illegal or invalid, the remainder shall remain in full force and effect. No waiver of any
right or remedy by Tishman or Owner shall be effective unless in writing.

        14.     This Agreement shall be a continuing agreement and shall remain in full force and
effect until terminated by Tishman or Owner in writing. This Agreement may not be amended or
supplemented in any manner other than by a writing signed by the Warehouseman/Bailee,
Tishman and Owner.

       15.      All notices shall be given in writing, sent by certified mail, return receipt
requested, if to the:

       FOR TISHMAN:

       Tishman Construction Corporation of New York
       100 Park Avenue
       New York, New York 10017
       Attn: Judy Herman

       FOR ONE VANDERBILT OWNER LLC:

       Troutman Sanders LLP
       875 Third Avenue
       New York, New York
       Attn: Aaron Abraham, Esq.

       FOR WAREHOUSEMAN/BAILEE:

       []
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Each such notice shall be deemed delivered upon receipt.



                              [SIGNATURE PAGE FOLLOWS]
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       IN WITNESS WHEREOF, the parties have executed this Agreement to be effective as of
the day and year first above written.

WAREHOUSEMAN/BAILEE

[_________________________________]

By:_________________________________
  Name:
  Title:


Acknowledged and agreed to:

CONTRACTOR

Navillus Tile, Inc.

By:_________________________________
  Name:
  Title:


TISHMAN

Tishman Construction Corporation of New York

By:_________________________________
  Name:
  Title:


OWNER

One Vanderbilt Owner LLC

By:_________________________________
  Name:
  Title:
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                                   Attachment 1
                                       Rent
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                             Exhibit B to Completion Agreement




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                   ASSIGNMENT AND ASSUMPTION OF CONTRACT

        WHEREAS, Navillus Tile, Inc., d/b/a Navillus Contracting (“Assignor”) entered into a
________ Contract with ____________ (“Vendor”) for _________ (the “Contract”), attached
hereto as Attachment 1.

      WHEREAS, Assignor wishes to assign the Contract to Tishman Construction
Corporation of New York (“Assignee”).

        KNOW ALL MEN BY THESE PRESENTS that Assignor in consideration of ten
($10.00) Dollars and other good and valuable consideration to it in hand paid by Assignee, the
receipt of which is hereby acknowledged, hereby assigns unto the Assignee, all of Assignor’s
right, title and interest in the Contract from and after the date of full execution of this
Assignment and Assumption of Contract (“Assignment”).

       1.      Effective Date. This Assignment shall be effective as of the date of the
termination of the Completion Agreement (the “Effective Date”)..

        2.      Assumption of Contract. Assignee hereby assumes, from and after the Effective
Date, all of the terms, covenants, conditions and provisions of the Contract applicable to the
Assignor as though Assignee were originally named therein as the Assignor, provided however
that nothing contained herein shall, in any way, be deemed to relieve Assignor of any of its
obligations, liabilities and responsibilities under the Contract prior to the Effective Date.

        3.     Governing Law. This Assignment shall be deemed to be an agreement made
under and shall be governed by and construed in accordance with the laws of the State of New
York. The parties hereby irrevocably consent to the jurisdiction and venue of any state or federal
court located within, or having jurisdiction over, the County of New York, State of New York,
for any disputes pertaining to this Assignment, and agree that any actions relating to the
Assignment shall be litigated in such courts, and the parties hereby waive any objection which
they may have based on improper venue or forum non conveniens to the conduct of any
proceeding in any such court.

        4.      Waiver/Modification. This Assignment may not be waived or modified except by
a written instrument executed by the parties hereto.

        5.     Power and Authority: The persons executing and delivering this Assignment on
behalf of the parties have the power and authority to execute and deliver this Assignment.

        6.      Counterparts. This Assignment may be executed in one or more counterparts
each of which when so executed and delivered shall be deemed an original, but all such
counterparts together shall constitute one and the same instrument. Signature pages may be
detached from multiple separate counterparts and attached to a single counterpart so that all
signature pages are physically attached to the same document. For the purposes hereof, an
electronic, facsimile, or other non-original or copy of any counterpart hereto shall be deemed an
original and binding counterpart against the party(ies) to be charged.
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       IN WITNESS WHEREOF, the parties have executed this Agreement and Assumption
of Contract on the ____ day of _________, 201_.


ASSIGNOR:

Navillus Tile, Inc., d/b/a Navillus Contracting



By:
      __________________________


ASSIGNEE:

Tishman Construction Corporation of New York



By: _____________________________
    _____________________________
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                             Exhibit C to Completion Agreement




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                                         Form Bill of Sale

  BILL OF SALE TO TISHMAN CONSTRUCTION CORPORATION OF NEW YORK


                                              FROM

               NAVILLUS TILE, INC., D/B/A NAVILLUS CONTRACTING

                      KNOW ALL MEN BY THESE PRESENTS THAT

               Navillus Tile, Inc., d/b/a Navillus Contracting (hereinafter called the “Seller”), for
and in consideration of [Insert purchase price paid by Navillus] to date, and other good and
valuable consideration to it in hand paid simultaneously herewith by Tishman Construction
Corporation of New York, a Delaware Corporation, (“Buyer” or “Tishman”), receipt of which is
hereby acknowledged, and further intending to be legally bound hereby, does hereby sell,
transfer and assign to Buyer the goods, materials and/or equipment described in Schedule A
hereto (hereinafter called the “Goods”) and located on the premises described in that schedule,
manufactured or in the process of manufacture for delivery to, or for use on or in connection with
coomercial construction project known as One Vanderbilt Avenue (hereinafter called the
“Project”). And in the event that any of the Goods are in process of manufacture, this Bill of
Sale is expressly intended to sell, transfer and assign the same in their completed state, as well as
in the form and state they possess at the time of the execution of this instrument.

                TO HAVE AND TO HOLD all and singular the Goods for Buyer, its successors
and assigns, to their own use and behoof forever.

              And the said Seller does hereby covenant with Buyer that it is the lawful owner of
Goods; that they are free from all liens and claims whatsoever; that it has good right to sell the
same;

              Seller acknowledges and agrees that it executes this Bill of Sale in furtherance of
the Completion Agreement referenced in Schedule A hereto

                This Bill of Sale and all matters arising in connection with this Bill of Sale shall
be governed in all respects by the laws of the State of New York, without giving effect to
principles of conflicts of law. Any litigation arising out of or connected in any way with this Bill
of Sale shall take place in a state or federal court of competent jurisdiction in the County of New
York and State of New York. There shall be no consolidation of actions or proceedings or
joinder of issues that would result in the removal of the applicable action or proceeding from the
court hereinabove provided. The parties hereby waive trial by jury in any such action or
proceeding.



                           [Signatures Appear On The Following Page]
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               IN WITNESS WHEREOF, the said Seller has hereunto set its hand and seal and
        otherwise duly executed and signed this instrument this ___ day of __________.




                                                                  Seller

                                                                Signature

                                                      Name of Authorized Signatory

                                                          Official Title (Officer)
       CORPORATE SEAL:


                                          FOR CORPORATION

       STATE OF                )
                               : ss:
       COUNTY OF               )

            On the ___ day of __________ before me personally came _______________, to
me known, who being by me duly sworn, did depose and say:

                That he resides in _________________________________ that he is
_________________________________ (Officer) of _________________________________
the Corporation described in and which executed the above instrument; that he knows the seal of
said corporation; that the seal affixed to said instrument is such corporate seal; and that it was so
affixed by order of the Board of Directors of said corporation, and that he signed his name
thereto by like order.


                                                          NOTARY PUBLIC
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                                         SCHEDULE A

All material, equipment or other items constituting or relating to the PERI Form System,
including but not limited to, the material, equipment and related items to be supplied pursuant to
Navillus PO’s. Nos. __________________
